                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                             Plaintiff,          )
                                                 )
                     v.                          )            No. 14-4075-01/02-CR-C-BCW
                                                 )
ALEC MATTHEW ELL,                                )
ANGELICA MELANIE POLSTON,                        )
                   Defendant.                    )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The defendants, by consent, appeared before the undersigned on August 31, 2015 and
pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j), and 28
U.S.C. § 636, have entered pleas of guilty to Count One of the Second Superseding Indictment
filed on April 2, 2015. After cautioning and examining Defendants, under oath, in accordance
with the requirements of Rule 11, it was determined that the guilty pleas were knowledgeable
and voluntary, and that the offense to which Defendants have plead guilty is supported by a
factual basis for each of the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the pleas of guilty be accepted and that the
defendants be adjudged guilty and have sentences imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



                                               Matt J. Whitworth
                                              MATT J. WHITWORTH
                                              United States Magistrate Judge

August 31, 2015
Jefferson City, Missouri




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